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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

SANDRA TAYLOR,                                       )
                                                     )
                                                     )
Plaintiff,                                           )     Civil Action No.: 7:18-cv-377
                                                     )
v.                                                   )
                                                     )
LOWE’S HOME CENTERS, LLC,                            )     By: Hon. Robert S. Ballou
                                                     )     United States Magistrate Judge
                                                     )
Defendant.                                           )
                                                     )

                         ORDER OF DISMISSAL WITH PREJUDICE

         This matter is before the Court at the request of Plaintiff, Sandra Taylor, to voluntarily

dismiss this matter in its entirety with prejudice pursuant to Rule 41(a)(1) of the Federal Rules of

Civil Procedure. All counsel of record are signatories to this Order indicating the parties’

stipulation to the voluntary dismissal of this matter with prejudice.

         As such, it is ORDERED that the defendant, Lowe’s Home Centers, LLC, d/b/a Lowe’s,

be and hereby is DISMISSED with prejudice form this matter and that this matter be and hereby

is DISMISSED in its entirety with prejudice from the docket of this Court.

                                                         Entered: September 3, 2019


                                                         Robert S. Ballou
                                                         Robert S. Ballou
                                                         United States Magistrate Judge
